         Case 1:08-cv-07253-GBD Document 138 Filed 11/09/21 Page 1 of 1




                                                           November 9, 2021
BY ECF
Hon. George B. Daniels
United States District Judge
United States District Court
Southern District of New York
500 Pearl Street
New York, New York 10007

       Re:     Kaplan, et al. v. Lebanese Canadian Bank,
               08-cv-7253-GBD

Dear Judge Daniels:
       We write to seek a brief enlargement of plaintiffs’ time to oppose the Motion to Stay (DE
134) filed by defendant Lebanese Canadian Bank (“LCB”), from November 10, 2021, until
November 15, 2021. Plaintiffs seek this enlargement due to an unexpected exigency in counsel’s
schedule. Counsel for LCB, Mitchell R. Berger, Esq., consents to this enlargement.
       Mr. Berger has requested an enlargement of LCB’s time to file its reply to plaintiffs’
opposition, from November 22, 2021, until November 24, 2021. Plaintiffs consent to this request.
     Plaintiffs therefore respectfully request that the Court set plaintiffs’ opposition deadline as
November 15, 2021, and LCB’s reply deadline as November 24, 2021.
       We thank you for your consideration.


                                                     Respectfully,


                                                     Robert J. Tolchin


cc: All counsel of record by ECF
